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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 CONTRARIAN CAPITAL MANAGEMENT,
 L.L.C., CONTRARIAN CAPITAL FUND I,
 L.P., CONTRARIAN DOME DU GOUTER
 MASTER FUND, LP, CONTRARIAN
 CAPITAL SENIOR SECURED, L.P.,                                Case No. 19 Civ. 11018 (AT)
 CONTRARIAN EM II, LP, CONTRARIAN
 EMERGING MARKETS, L.P., BOSTON                               ANSWER
 PATRIOT SUMMER ST LLC, and E1 SP, A
 SEGREGATED ACCOUNT OF EMAP SPC,

                            Plaintiffs,

                    v.

 BOLIVARIAN REPUBLIC OF VENEZUELA,

                            Defendant.


        ANSWER OF DEFENDANT BOLIVARIAN REPUBLIC OF VENEZUELA
             TO THE CORRECTED FIRST AMENDED COMPLAINT

       Defendant Bolivarian Republic of Venezuela (“the “Republic”), by its undersigned

counsel, responds as follows to the allegations in Plaintiffs’ Corrected First Amended Complaint,

dated January 6, 2020 (the “FAC”). The Republic incorporates into each such response a denial

of the allegations in the FAC (including those outside the knowledge and information of the

Republic), except with respect to those specific allegations expressly admitted herein, and denies

any averments in the headings and subheadings of the FAC.

                                             ANSWER

       Because the introductory paragraph of the FAC does not purport to state any factual

allegations, no response is required. To the extent a response is required, the Republic admits

that Plaintiffs purport to bring this action against the Republic.




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                                  NATURE OF THE ACTION

       1.      Paragraph 1 purports to describe the nature of the FAC and does not require a

response. To the extent Paragraph 1 makes any factual allegations, the Republic denies

knowledge or information sufficient to form a belief as to the truth of the allegations of

Paragraph 1.

       2.      The Republic admits the allegations of the first sentence of Paragraph 2. To the

extent the second and third sentences of Paragraph 2 purport to interpret the 1998 FAA and the

2001 FAA, no response is required. To the extent a response is required, the Republic denies the

allegations present a complete description of the matters alleged therein, and respectfully refers

the Court to the terms of the documents referenced therein.

       3.      To the extent that the allegations of paragraph interpret the 1998 FAA, 2001

FAA, and the Bonds, no response is required. To the extent a response is required, the Republic

denies knowledge or information sufficient to form a belief as to the truth of the allegations of

Paragraph 3.

       4.      The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 4.

                                            PARTIES

       5.      The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 5.

       6.      The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 6.

       7.      The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 7.



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        8.         The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 8.

        9.         The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 9.

        10.        The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 10.

        11.        The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 11.

        12.        The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 12.

        13.        The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 13.

        14.        The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 14.

        15.        The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 15.

        16.        The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 16.

        17.        To the extent that the allegations of Paragraph 17 consist of a legal conclusion, no

response is required. To the extent a response is required, the Republic does not dispute that it is

a foreign state.




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                                   JURISDICTION AND VENUE

        18.     To the extent that the allegations of Paragraph 18 consist of legal conclusions, no

response is required. To the extent a response is required, the Republic does not dispute that the

Court has jurisdiction.

        19.     To the extent that the allegations of Paragraph 19 interpret the terms of the 1998

FAA and 2001 FAA, no response is required. To the extent a response is required, the Republic

denies the allegations present a complete description of the matters alleged therein, and

respectfully refers the Court to the terms of the 1998 FAA and 2001 FAA.

        20.     To the extent that the allegations of Paragraph 20 consist of legal conclusions, no

response is required. To the extent a response is required, the Republic (i) denies the allegations

of Paragraph 20, except (ii) does not dispute that it is not entitled to sovereign immunity with

respect to this action.

        21.     To the extent that the allegations of Paragraph 21 consist of legal conclusions, no

response is required. To the extent a response is required, the Republic does not dispute that the

Court has personal jurisdiction.

        22.     The Republic admits that in the 1998 FAA and the 2001 FAA the Republic

appointed as its agent the Consul General of Venezuela, or in the Consul’s absence or incapacity,

any official of the Consulate of Venezuela, which maintains offices at 7 East 51st Street, New

York, New York, 10022, for service of process for actions arising under the 1998 FAA, the 2001

FAA and the 2018 Bonds, and refers the Court to those documents for a complete description of

their contents. To the extent that Paragraph 22 can be read to suggest that the Republic has

appointed any person to serve as its authorized agent for service of process generally, the

Republic denies the allegation.



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       23.     To the extent the allegations of Paragraph 23 consist of legal conclusions, no

response is required. To the extent a response is required, the Republic (i) denies the allegations

of Paragraph 23, except (ii) does not dispute that venue is proper in this district.

                                   FACTUAL ALLEGATIONS

       24.     To the extent that the allegations of Paragraph 24 consist of legal conclusions or

purport to interpret the 1998 FAA and its amendments, no response is required. To the extent a

response is required, the Republic denies the allegations present a complete description of the

matters alleged therein, and respectfully refers the Court to the terms of the documents

referenced therein.

       25.     To the extent that the allegations of Paragraph 25 consist of legal conclusions or

purport to interpret the 2001 FAA and its amendments, no response is required. To the extent a

response is required, the Republic denies the allegations present a complete description of the

matters alleged therein, and respectfully refers the Court to the terms of the documents

referenced therein.

       26.     To the extent that the allegations of Paragraph 26 consist of legal conclusions or

purport to interpret the 1998 FAA, 2001 FAA or the Bonds, no response is required. To the

extent a response is required, the Republic denies the allegations present a complete description

of the matters alleged therein, and respectfully refers the Court to the terms of the documents

referenced therein.

       27.     The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 27.

       28.     To the extent that the allegations of Paragraph 28 purport to interpret the terms of

the Bonds, no response is required. To the extent a response is required, the Republic denies



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knowledge or information sufficient to form a belief as to the truth of the allegations of

Paragraph 28.

       29.      To the extent that the allegations of Paragraph 29 purport to interpret the terms of

the 13.625% 2018 Bonds, no response is required. To the extent a response is required, the

Republic denies knowledge or information sufficient to form a belief as to the truth of the

allegations of Paragraph 29.

       30.      To the extent that the allegations of Paragraph 30 purport to interpret the terms of

the 7.00% 2018 Bonds, no response is required. To the extent a response is required, the

Republic denies knowledge or information sufficient to form a belief as to the truth of the

allegations of Paragraph 30.

       31.      To the extent that the allegations of Paragraph 31 purport to interpret the terms of

the 13.625% 2018 Bonds and the 7.00% 2018 Bonds, no response is required. To the extent a

response is required, the Republic denies the allegations present a complete description of the

matters alleged therein, and respectfully refers the Court to the terms of the documents described

therein.

       32.      To the extent that the allegations of Paragraph 32 purport to interpret the terms of

the Bonds, no response is required. To the extent a response is required, the Republic denies

knowledge or information sufficient to form a belief as to the truth of the allegations of

Paragraph 32, and respectfully refers the Court to the terms of the documents described therein.

                                              COUNT I

                        Breach of Contract on the 13.625% 2018 Bonds

       33.      The Republic’s responses to the foregoing Paragraphs are incorporated by

reference as though set forth fully herein.



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       34.     To the extent the allegations of Paragraph 34 consist of legal conclusions, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the allegations of Paragraph 34.

       35.     The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 35.

       36.     The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 36.

       37.     To the extent that the allegations of Paragraph 37 state a legal conclusion, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the truth of the allegations of Paragraph 37.

                                              COUNT II

                         Breach of Contract on the 7.00% 2018 Bonds

       38.     The Republic’s responses to the foregoing Paragraphs are incorporated by

reference as though set forth fully herein.

       39.     To the extent that the allegations of Paragraph 39 consist of legal conclusions, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the allegations of Paragraph 39.

       40.     The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 40.

       41.     The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 41.

       42.     To the extent that the allegations of Paragraph 42 state a legal conclusion, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the truth of the allegations of Paragraph 42.

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                                              COUNT III

                         Breach of Contract on the 12.75% 2022 Bonds

       43.     The Republic’s responses to the foregoing Paragraphs are incorporated by

reference as though set forth fully herein.

       44.     To the extent that the allegations of Paragraph 44 consist of legal conclusions, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the allegations of Paragraph 44.

       45.     The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 45.

       46.     To the extent that the allegations of Paragraph 46 state a legal conclusion, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the truth of the allegations of Paragraph 46.

                                              COUNT IV

                         Breach of Contract on the 9.00% 2023 Bonds

       47.     The Republic’s responses to the foregoing Paragraphs are incorporated by

reference as though set forth fully herein.

       48.     To the extent that the allegations of Paragraph 48 consist of legal conclusions, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the allegations of Paragraph 48.

       49.     The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 49.

       50.     To the extent that the allegations of Paragraph 50 state a legal conclusion, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the truth of the allegations of Paragraph 50.

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                                              COUNT V

                         Breach of Contract on the 8.25% 2024 Bonds

       51.     The Republic’s responses to the foregoing Paragraphs are incorporated by

reference as though set forth fully herein.

       52.     To the extent that the allegations of Paragraph 52 consist of legal conclusions, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the allegations of Paragraph 52.

       53.     The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 53.

       54.     To the extent that the allegations of Paragraph 54 state a legal conclusion, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the truth of the allegations of Paragraph 54.

                                              COUNT VI

                         Breach of Contract on the 11.75% 2026 Bonds

       55.     The Republic’s responses to the foregoing Paragraphs are incorporated by

reference as though set forth fully herein.

       56.     To the extent that the allegations of Paragraph 56 consist of legal conclusions, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the allegations of Paragraph 56.

       57.     The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 57.

       58.     To the extent that the allegations of Paragraph 58 state a legal conclusion, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the truth of the allegations of Paragraph 58.

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                                              COUNT VII

                         Breach of Contract on the 9.25% 2028 Bonds

       59.     The Republic’s responses to the foregoing Paragraphs are incorporated by

reference as though set forth fully herein.

       60.     To the extent that the allegations of Paragraph 60 consist of legal conclusions, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the allegations of Paragraph 60.

       61.     The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 61.

       62.     To the extent that the allegations of Paragraph 62 state a legal conclusion, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the truth of the allegations of Paragraph 62.

                                              COUNT VIII

                         Breach of Contract on the 11.95% 2031 Bonds

       63.     The Republic’s responses to the foregoing Paragraphs are incorporated by

reference as though set forth fully herein.

       64.     To the extent that the allegations of Paragraph 64 consist of legal conclusions, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the allegations of Paragraph 64.

       65.     The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 65.

       66.     To the extent that the allegations of Paragraph 66 state a legal conclusion, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the truth of the allegations of Paragraph 66.

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                                              COUNT IX

                         Breach of Contract on the 9.375% 2034 Bonds

       67.     The Republic’s responses to the foregoing Paragraphs are incorporated by

reference as though set forth fully herein.

       68.     To the extent that the allegations of Paragraph 68 consist of legal conclusions, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the allegations of Paragraph 68.

       69.     The Republic denies knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 69.

       70.     To the extent that the allegations of Paragraph 70 state a legal conclusion, no

response is required. To the extent a response is required, the Republic denies knowledge or

information sufficient to form a belief as to the truth of the allegations of Paragraph 70.

               With regard to the “WHEREFORE” clause and subsequent numbered paragraphs

on page 13 of the FAC, the Republic denies knowledge or information sufficient to form a belief

as to the truth of the allegations of the FAC, and on that basis denies that Plaintiffs are entitled to

any relief whatsoever.

                                   AFFIRMATIVE DEFENSES

               The Republic states the following defenses and reserves its right to assert other

and additional defenses, cross claims and third-party claims not asserted herein of which it

becomes aware through discovery or other investigation as may be appropriate at a later time. In

asserting these defenses, the Republic does not assume any burden of proof, persuasion or

production with respect to any issue where the applicable law places the burden upon Plaintiffs.

                                         FIRST DEFENSE

       OFAC sanctions bar entry of judgment in this case.

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                                       SECOND DEFENSE

         Defendant has insufficient knowledge or information upon which to form a belief as to

whether there may be additional affirmative defenses available to it, and therefore reserves the

right to assert such additional defenses in the event that discovery or further factual investigation

indicate they would be appropriate.


                                      PRAYER FOR RELIEF

         Based upon the foregoing, the Republic prays that this Court deny any relief for judgment

on behalf of Plaintiffs, and dismiss this action against the Republic in its entirety, with prejudice

and without leave to amend. The Republic also prays for such other and further relief as may be

appropriate or that the Court deems just and proper.


Dated:    March 31, 2020

                                                   /s/ Joseph E. Neuhaus
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